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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                    )
KIMBERLY KATORA BROWN, et al., )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )                Civil Action No. 13-00569 (CRC)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )

           DEFENDANT’S CONSENT MOTION FOR EXTENSION OF TIME
             TO FILE ANSWER TO SECOND AMENDED COMPLAINT

       Defendant the District of Columbia (the “District”) respectfully submits this Consent

Motion for Extension of Time to File Answer to the Second Amended Complaint (“Consent

Motion”), under Federal Rule of Civil Procedure 6(b)(1). On July 21, 2015, the Court entered an

Order granting in part, and denying in part, the District’s Motion to Dismiss Plaintiffs’ Second

Amended Complaint. The District is now required to respond to the surviving claims and factual

allegations in the Second Amended Complaint, which consists of almost 550 paragraphs. The

District seeks a three-week extension of the deadline (currently August 4, 2015) to respond to the

Second Amended Complaint, making the Answer due on or by August 25, 2015.

       The District attaches a memorandum of points and authorities in support of this Consent

Motion, and a proposed order for the Court’s consideration.

       Pursuant to Local Rule 7(m), undersigned counsel discussed this matter in good faith

with opposing counsel, and Plaintiffs consent to the requested relief. The District respectfully

requests that the Court grant the Consent Motion and enter the proposed order.
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Dated: July 24, 2015          Respectfully submitted,

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                              Attorney General for the District of Columbia

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                              Counsel for Defendant the District of Columbia




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                    )
KIMBERLY KATORA BROWN, et al., )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )                Civil Action No. 13-00569 (CRC)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANT’S CONSENT MOTION FOR EXTENSION OF TIME
            TO FILE ANSWER TO SECOND AMENDED COMPLAINT

       Defendant the District of Columbia (the “District”) respectfully submits the following

memorandum of points and authorities in support of the Consent Motion for Extension of Time

to File Answer to the Second Amended Complaint (“Consent Motion”):

   1. Rule 6(b)(1) of the Federal Rules of Civil Procedure;

   2. Plaintiffs’ consent to the requested extension of time;

   3. The District’s showing of good cause in support of the Consent Motion; and

   4. The inherent power of the Court.

       The District seeks a three-week extension for good cause, given the number of plaintiffs

in this putative class action and the various allegations in the Second Amended Complaint,

which consists of almost 550 paragraphs. Prior to filing an Answer, the District will need to

confer and coordinate with several agencies and personnel of the District of Columbia.

Accordingly, the District respectfully requests that the Court grant the Consent Motion and enter

the proposed order.
         Case 1:13-cv-00569-CRC Document 52 Filed 07/24/15 Page 4 of 4



Dated: July 24, 2015          Respectfully submitted,

                              KARL A. RACINE
                              Attorney General for the District of Columbia

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